Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 1 of 15 PageID:
                                  47133




                        Exhibit O
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 2 of 15 PageID:
                                  47134



             Discussion on the Genesis of Longsheng Talc Mine in Guangxi

                                                    Province

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        I. Overview of Ore Deposit Geology

        Longsheng talc mine in Guangxi Province is the largest talc treasury in South China, and the ore
        deposit occurs in the east wing of Sanmen complex overturned anticline (See Figure 1), strictly
        controlled by NNE regional compressive fracture structure (Metallogenic structure) as well as
        dolomite marble (ptbh5) and spilite (ptbh4). According to the linear distribution features of talc ore
        occurrence as well as the dependence relationship with the NNE compressive fracture, the talc mine
        can be roughly divided into two metallogenic belts. The first metallogenic belt, controlled by F1
        fracture, is mainly comprised of Guping Mining District, Lower Jizhua Mining District and
        Tongzishan Mining District. This metallogenic belt having a length of about 8km is the most
        important talc base in this zone. The second metallogenic belt, controlled by F3 fracture, is mainly
        comprised of Middle Jizhua Mining District and Gutang Mining District. This metallogenic belt
        having a total length of 12km is only second to the first metallogenic belt in the industrial
        significance. The metallogenic geological conditions of each mining district are basically similar,
        and the scale of the Lower Jizhua Mining District is largest.




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Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 3 of 15 PageID:
                                  47135




                    Figure 1 Regional Geological Map of Longsheng Talc Mine

         图例                                         Legend

         上板溪群                                       Upper Banxi Group

         合桐组                                        Hetong Formation

         炭质绢云千枚岩                                    Carbonaceous sericite phyllite

         绢云石英千枚岩                                    Sericite quartz phyllite

         细碧岩                                        Spilite

         白云石大理岩                                     Dolomite marble

         拱桐组                                        Gongtong Formation

         千枚岩、板岩                                     Phyllite and slate

         条带状板岩                                      Stripped slate

                         Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 4 of 15 PageID:
                                  47136


         雪峰期辉长辉绿岩                                              Gabbro-diabase in Xuefeng period

         雪峰期杆辉岩                                                Olivine-bearing pyroxenite in Xuefeng period

         压性断裂                                                  Compressive fracture

         张性断裂                                                  Tensional fracture

         扭性断裂                                                  Torsional fracture

         桐子山                                                   Tongzishan

         下鸡爪                                                   Lower Jizhua

         中鸡爪                                                   Middle Jizhua

         古坪                                                    Guping

         双朗                                                    Shuanglang

         古塘                                                    Gutang



        In this zone, the talc ores occur in the dolomite marble (ptbh5). The ore body is laminar or lenticular,
        and the occurrence is roughly the same as the surrounding rocks, inclined to NWW with an
        inclination angle of 35-65°. The dolomite marble remains are always sandwiched in the talc ores
        and the talc ores are clearly bounded with the surrounding rocks and horse stones. The common
        paragenetic mineral is quartz stone and very few calcite clumps are occasionally seen.

        Ore quality: generally grayish white-light green, occasionally grayish green, containing 60-62%
        SiO2, 30-31% MgO and 0.4-1.6% Fe2O3 (generally less than 0.8%). According to the statistics of
        Guping Mining District and Lower Jizhua Mining District, the content of first-grade ores accounts
        for 70-75% and the quality is good.

        II. Relations between Regional Geology and Mineralization

        1. Relations between Formation and Mineralization

        The exposed regional formations mainly include the Proterozoic upper Banxi Group, Sinian system
        and Cambrian system etc. Now the Proterozoic upper Banxi Group is briefly introduced from old
        to new as follows:

        (1) Hetong formation (ptbh)

        It is divided into five formations as shown in Figure 1 and Figure 2.

        a. ptbh1: gray-grayish green sericite phyllite and quartz phyllite etc., distributed at the north section
        of Sanmen complex overturned anticline core (Figure 1 is the south section of anticline) with a
        thickness of 550m.

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Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 5 of 15 PageID:
                                  47137


        b. ptbh2: black gray carbonaceous phyllite and sericite phyllite, exposed at the south section core of
        Sanmen complex overturned anticline with a thickness of about 200m.

        c. ptbh3: grayish green sericite phyllite, slate and siliceous rock, etc. with a thickness of 400m.

        d. ptbh4: grayish green spilite sandwiched with grayish green sericite phyllite and siliceous rock
        with a thickness of 515-861m.

        e. ptbh5: thin-medium thick laminar dolomite marble in which the talc ores occur with a thickness
        of about 200m.

        (2) Gongtong formation

        a. Lower section of ptbg1: light gray-grayish green sericite quartz phyllite, slate and siliceous rock,
        etc. with a thickness of 400m.

        b. Upper section of ptbg2: stripped slate, phyllite and metasandstone, etc. with a thickness of 150m.

        The dolomite marble (ptbh5) is grayish white and medium-fine-grained, containing 18-20% MgO.
        It is a favorable mother rock for mineralization. In addition, what has an auxiliary relation with
        mineralization is spilite (ptbh4).

        The spilite is greatly developed in this zone, which is a basic rock with submarine eruptive facies
        and has an obvious pillow-shaped, porous and amygdaloidal structure and a microscopic diabasic
        structure. The rock is generally altered under the regional metamorphism. The spilite is mainly
        comprised of soda feldspar (35-45%), tremolite (30-35%), clinozoisite (10-15%) as well as calcite,
        a small amount of quartz and chlorite. In the east wing of Sanmen complex overturned anticline,
        when the NNE compressive fracture cuts the spilite, a strong dynamic metamorphic zone is formed
        in the hanging wall, the primary texture and structure of spilite completely disappear and then the
        rock is altered into the talcous chlorite schist (containing a large amount of amesite) that has an
        obvious schistosity structure. The spilite contains 8.14% MgO on average and thus it is a favorable
        surrounding rock that has an additional effect for mineralization.

        2. Relations between Regional Tectonics and Mineralization

        The regional tectonics belongs to the Neocathaysian tectonic system. The genesis of ore deposit is
        closely related to Sanmen complex overturned anticline that has a pinacoidal strike of NE 20-30°,
        an inclination of NWW, an inclination angle of 60-65°, a length of about 60km and a wing width of
        20-25km. This anticline is a closed complex fold that is overturned eastwards and is comprised of
        two secondary overturned anticlines sandwiched with an overturned syncline. As shown in Figure
        2, the formation inclination is NWW, the inclination angle of west wing is 50-60° and the east wing
        is slightly steep with an inclination angle of 60-70°. In the east wing of this anticline, as the NWW-
        SEE pressure is highly concentrated, a complex fold belt is formed, the regional longitudinal
        compressive fracture is greatly developed, and the dynamic metamorphism is so strong to form a
        series of imbricate fault blocks. In this zone, the talc ore occurrence (ore deposit) is mainly
        distributed in the NNE compressive fracture zone of the complex anticline’s east wing. Although

                                  Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 6 of 15 PageID:
                                  47138


        there is the same favorable formation for mineralization in the west wing of this anticline, as the
        NNE compressive ore-controlling fracture is not developed and the dynamic metamorphism is weak,
        the talc ore deposit that has the industrial value is not formed. Therefore, the talc ore is greatly
        related to the structure of NNE compressive fracture in terms of genesis in this zone.




                                  Figure 2 Regional geological profile map of A-A

        3. Relations between Regional Igneous Rock and Mineralization

        The exposed magmatic rock in this zone is mainly the diabase with hypabyssal facies (δ), including
        the gabbro-diabase. A few ultra-basic rocks-olivine pyroxenolite (φ) also exist at the anticlinal core.
        The above magmatic rocks occur along the formation in a shape of rock bed or dyke, mainly in the
        ptbh1-ptbh4 formations. It is determined that the absolute age is 837 million years and they were
        formed in Xuefeng Period in relation to the homologous phase-out of spilite.

        The above basic-ultra-basic rocks are far apart from the geologic age of Sanmen complex overturned
        anticline in Caledonian period as well as NNE compressive fracture and talc mineralization.
        Meanwhile, after six chemical analysis samples of gabbro-diabase are equally grouped, it is shown
        through calculation that no SiO2 is left by taking Zavaritskii’s chemical graphic calculation method
        for rocks. In other words, the basic-ultra-basic magma cannot be separated into the excessive acid
        hydrothermal solution containing SiO2. See the following table for more details.

        The calculation result Q in the following table is a negative value, showing that SiO2 is insufficient
        in the gabbro-diabase and thus a lot of acid hydrothermal solution containing SiO2 cannot be
        separated. Through field observation, the quartz vein is scarce near the above rock mass and the
        silicification of surrounding rocks is weak, so it is further demonstrated that this type of magmatic
        rock has no genesis relationship with the talc ore.

        In addition, in the east wing of Sanmen complex anticline, when the regional compressive fracture
        cuts such formations as ptbh1-ptbh2 sericite phyllite, slate, sandstone and siliceous rock etc., the
                                Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 7 of 15 PageID:
                                  47139


        stringer-shaped intermediate-acid (quartz diorite) dyke in Caledonian period is occasionally seen.
        What is worth reflecting on is that this type of dyke is not intruded into the compressive ore-
        controlling fracture zones F1 and F2. According to the 1: 1,000,000 satellite photograph scanned and
        taken by the 5-7 wave band (MSS 5-7 yellow red- infrared light) of earth resources technology
        satellite provided by NASA, the sign of concealed intermediate-acid igneous rock mass is not seen
        in Longsheng area and within the scope of Sanmen complex anticline. But in this photograph, the
        sign of concealed igneous rock mass is extremely obvious in the other areas. It is estimated that the
        total content of SiO2 in two metallogenic belts of this zone and required for silicification of the ore-
        controlling fracture’s surrounding rocks reaches more than 100 million tons. If there is no enormous
        acid igneous rock mass, a lot of middle-low temperature acid hydrothermal solution source
        containing SiO2 cannot be provided for mineralization. In the intermediate-acid dyke as above
        mentioned, the rock mass is too small to provide a lot of SiO2 for mineralization. To sum up, it can
        be thought that the magmatic rock in this zone is unrelated to the genesis of talc ore.



                        Average component calculation sheet of six gabbro-diabase samples

         Oxide              Content (%)          Number of molecules      Characteristic number




         Total              93.15                1397




                                    Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 8 of 15 PageID:
                                  47140


        III. Genesis of Ore Deposit

        1. Problem Posing

        It is generally thought in the metallogenic theory that the dolomite marble is metasomatized by the
        post-magmatic middle-low temperature acid hydrothermal solution to generate the talc ore, which
        is expressed according to the following reaction equation:




         白云石                                                 Dolomite

         酸性热液                                                Acid hydrothermal solution

         滑石                                                  Talc

         方解石                                                 Calcite



        Proven by Johnston and Niggli, in the metasomatism process of solid minerals, the reactant follows
        the principle of keeping roughly equal in volume with the resultant, namely the law of equivoluminal
        metasomatism. It is thought by F.J Turner and other scholars that when a kind of metamorphic rock
        assemblage is generated from mother rock and there is no obvious change in total composition or
        specific gravity (or weight), the law of equivoluminal metasomatism must be appropriate. It can be
        seen from the law of equivoluminal metasomatism that the above reaction equation is worthy to be
        discussed.

        The left and right sides of the reaction equation balance the weights of reactant and resultant, but
        the law of equivoluminal metasomatism for solid minerals is not taken into consideration. We know
        that the weight of pure dolomite (or specific gravity) is roughly equivalent to that of pure talc (or
        specific gravity). While the weight of the former is 2.87g/cm3, the weight of the latter is 2.78g/cm3.
        Based on the thesis of Turner, the above reaction equation should abide by the law of equivoluminal
        metasomatism. Now the total gram-molecular volume of solid minerals on the left and right sides
        of the above reaction equation is calculated as follows [gram-molecular volume= (molecular
        weight/specific gravity)].




                                 Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 9 of 15 PageID:
                                  47141




         分子总体积                                               Total molecular volume

         厘米 3                                                cm3



        Seen from the above reaction equation, the total molecular volume of solid minerals on the left and
        left sides of the reaction equation differs greatly. In this zone, the dolomite marble is directly
        replaced by talc and the content of calcite generated is small (less than 5%). In the above equation,
        the molecular volume of three gram molecules of dolomite is 198 cm3 and the molecular volume of
        one gram molecule of talc is 140cm3, so their molecular volume differs greatly and thus the law of
        equivoluminal metasomatism is not satisfied. According to the law of equivoluminal metasomatism,
        one gram molecule of talc only needs two gram molecules of dolomite (132 cm3). Therefore, the
        content of MgO in the dolomite is obviously insufficient. To meet the requirement for generating
        the talc, one gram molecule of MgO must be added from the external surrounding rocks, or else the
        pure dolomite marble cannot be metasomatized to generate the talc ore deposit that has the industrial
        value.




        Figure 3 Geological profile of Line VII in the Lower Jizhua Mining District
                                 Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 10 of 15 PageID:
                                  47142


         图例                                                   Legend

         绢云石英千枚岩                                              Sericite quartz phyllite

         细碧岩                                                  Spilite

         滑石化绿泥石片岩                                             Talcous chlorite schist

         滑石矿体                                                 Talc ore body

         硅化白云石大理岩                                             Silicified dolomite marble




        Figure 4 Geological profile of Line V in the Lower Jizhua Mining District

        (the legend is the same as Figure 3)

        In fact, although the single dolomite marble (ptbh5) in this zone is cut by several regional NNE
        compressive fractures, the mineralization is not common as shown in Figure 3 and Figure 4. In the
        hanging wall of the compressive fracture F2, the degree of mineralization of dolomite marble (ptbh5)
        is quite weak because of the lack of MgO in the heading wall of formation (ptbh1) containing sericite
        phyllite, slate and siliceous rock. In the mineralization process, MgO cannot be supplemented to the
        dolomite marble. On the contrary, the spilite containing a lot of MgO occurs in the hanging wall of
        the compressive fracture F1 (containing 8.14% MgO on average). In the mineralization process, a
        lot of MgO can be supplemented to the dolomite marble, so the mineralization of dolomite marble
        that occurs near the compressive fracture F1 is strong and the interlayers and remains of dolomite
        marble gradually decrease along the direction of spilite. To sum up, based on the geological features
        of mineralization of talc ores in this zone as well as the enrichment law, we think that it is suitable
        to take the following reaction equation (2):




                                  Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 11 of 15 PageID:
                                  47143




         分子总体积                                               Total molecular volume

         厘米 3                                                cm3



        Where:




         分子体积                                                Molecular volume

         厘米 3                                                cm3



        In other words, the molecular volume of two gram molecules of dolomite and one gram molecule
        of MgO is 143 cm3, which is roughly equal to the molecular weight of one gram molecule of talc
        generated (140 cm3). Therefore, the law of equivoluminal metasomatism is basically satisfied and
        the genesis and enrichment law of talc ore deposit in this zone also can be objectively reflected.

        2. Genesis Analysis of Talc Ore Deposit in This Zone

        Seen from the above reaction equation (2), to learn about the genesis of talc ore deposit in this zone
        in detail, in addition to the investigation of geological conditions like ore-controlling fracture
        structure and mineralization mother rock-dolomite marble, it is also required to explore the cause
        and effect of conveying MgO to the metallogenic belt of surrounding rocks from the outside and
        also track the source of acid hydrothermal solution containing SiO2. Now the geological features of
        mineralization in this zone are respectively discussed as follows:

                                 Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 12 of 15 PageID:
                                  47144


        (1) Source of MgO

        The mother rock that is directly related to mineralization is dolomite marble. This formation
        contains 19% MgO in this zone, so the requirement for generating the talc ore deposit cannot be
        completely satisfied and MgO must be absorbed from the external surrounding rock to supplement
        and the surrounding rock that satisfies this formation condition is spilite (ptbh4). In this zone, the
        content of MgO in spilite is 8.14% on average. Through rock-mineral determination and analysis,
        MgO is mainly concentrated in the tremolite (the content of tremolite in spilite is 30-35%). When
        the regional compressive fracture cuts the spilite, the spilite near the fracture zone is molten into the
        dynamic alteration zone of talcous chlorite schist under the action of strong extrusion and violent
        friction. This metamorphic zone varies from 10m to 40m in with, showing obvious schistosity, and
        the schistosity occurrence is roughly parallel to the fault plane. The talcous chlorite schist is mainly
        comprised of the chlorite. The main content in chlorite is the amesite that is altered from soda
        feldspar, clinozoisite and tremolite in the spilite. The secondary content in chlorite is the talc (the
        content is about 20%) that is altered from tremolite. In addition, the calcite assemblages or stringers
        as well as quartz stringers and gobbets are frequently seen. In the above alteration process, no matter
        whether the tremolite is altered into amesite or talc or part of the amesite is further altered into the
        talc under the action of compressive stress, a lot of MgO and SiO2 as well as the hydrothermal
        solution of calcite (secondary hydrothermal solution) are decomposed so as to provide enough acid
        hydrothermal solution containing MgO and SiO2 for generation into talc ores from dolomite marble.
        In the dynamic metamorphism process generated from fracture change, the alteration of minerals
        containing magnesium can be expressed by the following reaction equations:




                                                                                         b

         透闪石                                                   Tremolite

                                  Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 13 of 15 PageID:
                                  47145


         滑石                                                    Talc

         迁入白云石大理岩中                                             Transferred into the dolomite marble

         透闪石                                                   Tremolite

         镁绿泥石                                                  Amesite

         迁入白云石大理岩中                                             Transferred into the dolomite marble

         压应力                                                   Compressive stress

         迁入白云石大理岩中                                             Transferred into the dolomite marble



        The above reaction equations just can explain for the paragenetic association of minerals for talcous
        chlorite schist and also can reflect the genesis and enrichment factors of talc ores in this zone. Proven
        by the exploration work, the same ore deposit is located in the same ore-controlling fracture zone
        and the degree of mineralization of dolomite marble has an obvious superposition relationship with
        the width of alteration zone of the talcous chlorite schist in the hanging wall of fracture zone as
        shown in Figure 3 and Figure 4; if the alteration zone is wide, the degree of mineralization will be
        strong as shown in Figure 3; if the alteration zone becomes narrow, the degree of mineralization of
        dolomite marble will obviously decrease as shown in Figure 4. This is because the rich source of
        MgO is closely related to the alteration strength of spilite and thus the degree of mineralization of
        dolomite marble is directly affected.

        (2) Hydrothermal Solution Containing SiO2

        The general acid hydrothermal solution containing SiO2 comes from the magma. As above
        mentioned, the source of hydrothermal solution for mineralization (belonging to middle-low
        temperature) has no genesis relationship with the local magmatic rocks. It is thought through field
        observation that the source of acid hydrothermal solution containing SiO2 used for generating the
        talc ore should be related to the dynamic metamorphism of regional compressive fracture. When
        searching along this type of fracture zone, it is found that the silicification degree and alteration
        nature of surrounding rocks near this fracture zone are closely related to the lithology of surrounding
        rocks in the hanging wall and the heading wall, especially the enrichment degree of SiO2. By taking
        the fracture F2 for an example, when this fracture cuts the formation (ptbg1) containing sericite
        quartz phyllite, slate and siliceous rock, the quartz dykes in the hanging wall and heading wall of
        this fracture zone are greatly developed, the rock silicification is very strong, secondary quartz rock
        and oil stone lodes are associated, and the dolomite marble is altered into the silicified marble. When
        this fracture cuts the single dolomite marble, the degree of silicification is relatively decreased and
        generally only the highly fractured zone is generated to form 16m-wide crushed marble as shown
        in Figure 5. When the compressive fracture cuts the spilite, besides the talcous chlorite schist, calcite
        and quartz stringers are also associated, but the silicification degree of rocks is still weak. Within
        the regional compressive ore-controlling fracture zone, the polymetallic mineralization
                                  Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 14 of 15 PageID:
                                  47146


        phenomenon is not yet found and the genesis of talc ores in this zone is hard to be explained by
        post-magmatic hydrothermal mineralization theory. It is thought by such scholars as Yeliseyev and
        Niggli that “the melting temperature of minerals will be reduced under the influence of directional
        pressure”. Therefore, it can be thought that closed complex overturned fold and dense NNE
        imbricate compressive fracture are generated in the east wing of Sanmen complex overturned
        anticline in this zone due to the intensive concentration of NWW-SEE compressive stress. Due to
        the extremely strong change of this fracture and the substantial uplift of hanging wall, it is speculated
        that the vertical fault displacement is larger than 300m according to formation rupture and loss.
        Under such strong extrusion and violent friction, strong heat energy must be generated so as to melt
        the surrounding rocks near the fracture zone, especially the high-strength sericite quartz phyllite,
        slate and siliceous rock (ptbg1-ptbg2) etc. containing a large amount of SiO2. After the surrounding
        rocks are molten, a large amount of secondary middle-low temperature acid hydrothermal solution
        containing SiO2 as well as intermediate-acid dyke rocks (quartz diorite) can be generated so as to
        provide sufficient hydrothermal solution source for mineralization.




             Figure 5 Fractured zone in the hanging wall of Fracture F2 (the marble extruded into the
                                                   cataclastic rock)

        IV. Summary

        1. The genesis of talc ore deposit in this zone should be the product of dynamic metamorphism.
        Therefore, the mineralization must be controlled by the regional NNE compressive fracture that is
        strongly active, and the hydrothermal solution source for mineralization is the derivative from the
        change of this fracture.

        2. The dolomite marble is metasomatized into the talc ore by acid hydrothermal solution containing
        SiO2. As their specific gravity (or weight) is roughly equal, the metasomatism must follow the
        equivoluminal principle. In other words, only two gram molecules of dolomite are required to
        generate one gram molecule of talc. Obviously, MgO in dolomite is insufficient and it must be
        supplemented from the external surrounding rock (spilite).

        3. In this zone, the dolomite marble contacts with the spilite containing a large amount of MgO via
                                   Reference Translation‐ may contain inconsistencies
Case 3:16-md-02738-MAS-RLS Document 9741-10 Filed 05/07/19 Page 15 of 15 PageID:
                                  47147


        the regional compressive fracture, which is a precondition for searching the talc ore. And the
        dynamic metamorphic zone of spilite as well as the development of talcous chlorite schist is an
        important factor for controlling the mineralization degree of dolomite marble.




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